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                                                                   FILED
                                                            EXHIBIT 6. CLERK
                                                              PAGE 5
                                                                    STATE OF MONTANA
                                                                   By: __________________
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               ASSIGNMENT, ASSUMPTION AND AMENDMENT OF LEASE


       THIS ASSIGNMENT, ASSUMPTION AND AMENDMENT OF LEASE (this
“Assignment and Amendment”) is made effective this ____ day of July, 2018 (the “Effective
Date”), by and between PROJECT SPOKANE, LLC, a Colorado limited liability company,
whose mailing address is 5619 DTC Parkway, #475, Greenwood Village, CA 80111 (“Assignor”),
and HYPERBLOCK LLC, a Delaware limited liability company, whose mailing address is 120
Adelaide Street West, Suite 2210, Toronto, ON M5H 1T1 (“Assignee”).

                                           RECITALS:

        A.     Assignor currently owns certain real property located in the Bonner Millsite in
Bonner, Montana (the “premises”) which are currently leased pursuant to the terms and
conditions of that certain Commercial Lease Agreement, dated March 1, 2016, as amended by that
certain First Amendment, effective as of January 1, 2017, and that certain Second Amendment,
dated July 13, 2017 (the "Lease"), by and between Assignor and BONNER PROPERTY
DEVELOPMENT, LLC, a Montana limited liability company (herein referred to as "Lessor").

        B.     Assignor has engaged in a transaction pursuant to which substantially all of the
assets of Assignor have been acquired by Hyperblock LLC, a Delaware limited liability company
(the "Transaction”).

        B.      Pursuant to the Transaction, Assignor desires to transfer all of its right, title and
interest in the Lease to Assignee upon the terms and conditions hereinafter set forth.

        C.     Also pursuant to the Transaction, Assignee desires to assume the Lease and all
obligations thereunder upon the terms and conditions set forth below.

      D.      Lessor consents to the assignment under the conditions set forth herein and agrees
to amend the Lease to reflect Assignee as the tenant moving forward.


       NOW, THEREFORE, in consideration of the mutual promises and covenants contained
herein and for valuable consideration, the receipt and sufficiency of which are hereby mutually
acknowledged, the parties hereby agree as follows:

        1.         Assignment of Lease; Disclosure of Assignee’s Information.

        A.      Assignor hereby grants, assigns and transfers to Assignee all of its right, title and
interest in and to the Lease as amended by this Assignment and Amendment.

       B.     Assignee hereby provides the following specific information to Lessor in
connection with this Assignment and Amendment:

                   (i)   The name and contact information for Assignee is:

                         HYPERBLOCK, LLC
                         c/o HYPERBLOCK TECHNOLOGIES CORP.
                         388 Carlaw Avenue, Suite 300
                         Toronto, Ontario
Assignment, Assumption and Amendment of Lease
SMRH:486963008.4                                 -1-
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                                                                                          EXHIBIT 6.
                                                                                           PAGE 10

                       M4M 2T4
                       Telephone Number: 416-551-7646
                       E-mail Address: tim@hyperblock.co
                       Current Contact Name: Tim Smart

        2.     Duties and Obligations. Assignor hereby assigns and delegates to Assignee
only Assignor’s duties and obligations under the Lease which both (i) first arising after the closing
of the Transaction, and (ii) do not relate to or arise from pre-closing breaches or occurrences prior
to the closing that may give rise to such a breach (the “Assumed Obligations”); and in
consideration of the Lease herein being assigned to Assignee, Assignee hereby accepts this
assignment and agrees to assume and perform, and hereby assumes, all of the Assumed
Obligations contained in the Lease to be observed, kept, performed or complied with by Assignor
under the Lease from and after the Effective Date (and the Assignor shall remain liable for all
other duties, obligations, covenants, agreements, promises, terms, conditions and provisions
contained in the Lease).

        3.     Amendments to Lease. The Lease shall be amended, effective as of the
Effective Date, to reflect Assignee as the tenant thereunder, and Lessor hereby consents to the
Assignment and Amendment subject to the representations, warranties and conditions reflected
herein.

      4.   Representations, Warranties and Estoppel Certificate                                from
Assignment Parties. Assignor acknowledges, represents and warrants as follows:

        •      The Lease, as amended by this Assignment and Amendment (collectively, the
“Amended Lease”), is in full force and effect against Assignor, and has been so since the execution
of the Lease, and has not been modified, changed, altered, assigned, supplemented or amended
in any respect except for the First Amendment and Second Amendment. From the Tenant’s
perspective, the Lease is not in default and is valid and in full force and effect against Assignor on
the date hereof. The Lease represents the entire agreement between Assignor, as landlord, and
Assignor, as tenant, with respect to the premises.

        •       Assignor’s interest therein is free and clear from all encumbrances, and Assignor
has fully performed all covenants and obligations under the Lease and has not done or permitted
any act in violation of the covenants contained in the Lease;

       •       there are no attachments, executions, assignments for the benefit of creditors,
receiverships, conservatorships, or voluntary or involuntary proceedings in bankruptcy or
pursuant to any other laws for relief or debtors contemplated or filed by Assignor or pending
against Assignor, or involving the premises;

       •       Assignor has not subleased all or any portion of the leased premises or (prior to
the date hereof) assigned any of its rights under the Lease, nor pledged any interest therein;

       •       Assignor is in full and complete possession of the premises and prior to the date
hereof commenced full occupancy and use thereof except as to expansion space not yet occupied.
Assignor is operating at the premises under the name of Project Spokane.

       •      The rent and other charges payable in connection with the Lease are paid currently
through the date hereof, and:


Assignment, Assumption and Amendment of Lease
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               •       no advance rent or other payment has been made in connection with the
Lease, except rent for the current month;

               •       there is no “free rent” or other rent concession or adjustments to which
Assignor is entitled under the remaining term of the Lease; and

                   •      the Base Rent is set forth in Section 4(a) of the Lease.

       •       All obligations, commitments, space, payments, repairs, tenant improvements,
build out, inducements, other sums and conditions under the Lease to be performed to date by
Lessor have been satisfied, free of defenses and set-offs including any construction work on the
premises.

        •      There is no existing default or unfulfilled obligations on the part of Assignor in any
of the terms and conditions of the Lease, and no event has occurred or condition exists which,
with the passing of time or giving of notice or both, would constitute an event of default on the
part of Assignor under the Lease.

       •       Assignor claims no offsets, set-offs, rebates, adjustments, concessions, abatements
or defenses against or with respect to rent, additional rent, security deposits or other sums payable
under the terms of the Lease.

       •           Assignor has no option or right of first refusal to purchase the premises or any part
thereof.

       •       Assignor has not committed any violation of any environmental law or regulation
with respect to the premises.

        •      There are no unpaid or outstanding claims, bills or invoices for any labor
performed upon or materials furnished to either Assignor or the premises on its behalf for which
any lien or encumbrance including, without limitation, materialmen, suppliers and mechanic’s
liens, have been asserted or may be asserted against either Assignor or the premises.

       •      There are no existing, pending or threatened lawsuits affecting the premises or the
Lease to which Assignor is a party.

       •        Assignor has all applicable permits, licenses, certificates of occupancy and other
documentation required by the applicable governmental authorities in order to operate its
business in full accordance with the law.

       •       Assignor and Assignee have notified their insurance carriers of the change in lessee
under the Lease and owner of the operations conducted in the premises and owner of the personal
property and/or fixtures in the premises for purposes of the insurance carrier naming Lessor
under the Lease as additional insured, for liability and fire and casualty insurance coverages.
Further, fully effective as of the Effective Date, Lessor is named as an additional insured in
Assignee’s policies and promptly following the closing of the Transaction Assignee will provide
Lessor with such declaration pages and other certificates of insurance as are required to document
such coverage to Lessor’s satisfaction in its reasonable discretion.

        •      The Transaction has closed and, pursuant thereto, substantially all assets of
Assignor have been assigned, conveyed and fully transferred to Assignee, including substantially
all property and operations located in the premises.
Assignment, Assumption and Amendment of Lease
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       5.       Attorneys' Fees. Should any party incur any costs or expenses, including
reasonable attorneys' fees, to enforce any of the provisions of this Agreement, the non-prevailing
party shall reimburse the prevailing party upon demand.

       6.     Counterparts. This Assignment and Amendment may be executed in one or
more counterparts, each of which shall be deemed an original, but all of which shall constitute
one and the same instrument. As used herein, "counterparts" shall include full copies of this
Agreement signed and delivered by facsimile transmission or electronic mail (“e-mail”)
correspondence, as well as photocopies of such facsimile transmission or e-mail correspondence.

        7.      Binding Effect. The provisions of this Assignment and Amendment shall be
binding upon and inure to the benefit of the heirs, representatives, successors and assigns of the
parties hereto.

                            Signatures on the Following Page




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 IN WITNESS WHEREOF, the parties have executed this Assignment and Amendment as of
the Effective Date.



                                                ASSIGNOR:

                                                  PROJECT SPOKANE, LLC
                                                  By: PS Mgt LLC, its Manager


                                                     By:
                                                           Sean Walsh
                                                           Manager



                                                ASSIGNEE:
                                                   HYPERBLOCK LLC



                                                   By:
                                                          Eric S
                                                               So
                                                                o
                                                          Chairman


                                                LESSOR:

                                                   BONNER PROPERTY
                                                   DEVELOPMENT, LLC



                                                   By:________________________________
                                                   Its: Co-Manager




Assignment, Assumption and Amendment of Lease
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                                                                                         EXHIBIT 7.
                                                                                           PAGE 1

             ASSIGNMENT, ASSUMPTION AND AMENDMENT OF LEASE


       THIS ASSIGNMENT, ASSUMPTION AND AMENDMENT OF LEASE (this
“Assignment and Amendment”) is made effective this ____ day of July, 2018 (the “Effective
Date”), by and between PROJECT SPOKANE, LLC, a Colorado limited liability company,
whose mailing address is 5619 DTC Parkway, #475, Greenwood Village, CA 80111 (“Assignor”),
and HYPERBLOCK LLC, a Delaware limited liability company, whose mailing address is 120
Adelaide Street West, Suite 2210, Toronto, ON M5H 1T1 (“Assignee”).

                                           RECITALS:

        A.     Assignor currently owns certain real property located in the Bonner Millsite in
Bonner, Montana (the “premises”) which are currently leased pursuant to the terms and
conditions of that certain Commercial Lease Agreement, dated March 1, 2016, as amended by that
certain First Amendment, effective as of January 1, 2017, and that certain Second Amendment,
dated July 13, 2017 (the "Lease"), by and between Assignor and BONNER PROPERTY
DEVELOPMENT, LLC, a Montana limited liability company (herein referred to as "Lessor").

        B.     Assignor has engaged in a transaction pursuant to which substantially all of the
assets of Assignor have been acquired by Hyperblock LLC, a Delaware limited liability company
(the "Transaction”).

        B.      Pursuant to the Transaction, Assignor desires to transfer all of its right, title and
interest in the Lease to Assignee upon the terms and conditions hereinafter set forth.

        C.     Also pursuant to the Transaction, Assignee desires to assume the Lease and all
obligations thereunder upon the terms and conditions set forth below.

      D.      Lessor consents to the assignment under the conditions set forth herein and agrees
to amend the Lease to reflect Assignee as the tenant moving forward.


       NOW, THEREFORE, in consideration of the mutual promises and covenants contained
herein and for valuable consideration, the receipt and sufficiency of which are hereby mutually
acknowledged, the parties hereby agree as follows:

       1.      Assignment of Lease; Disclosure of Assignee’s Information.

        A.      Assignor hereby grants, assigns and transfers to Assignee all of its right, title and
interest in and to the Lease as amended by this Assignment and Amendment.

       B.     Assignee hereby provides the following specific information to Lessor in
connection with this Assignment and Amendment:

               (i)     The name and contact information for Assignee is:

                       HYPERBLOCK, LLC
                       c/o HYPERBLOCK TECHNOLOGIES CORP.
                       388 Carlaw Avenue, Suite 300
                       Toronto, Ontario
      Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 13 of 201
                                                                                          EXHIBIT 7.
                                                                                            PAGE 2

                       M4M 2T4
                       Telephone Number: 416-551-7646
                       E-mail Address: tim@hyperblock.co
                       Current Contact Name: Tim Smart

        2.     Duties and Obligations. Assignor hereby assigns and delegates to Assignee
only Assignor’s duties and obligations under the Lease which both (i) first arising after the closing
of the Transaction, and (ii) do not relate to or arise from pre-closing breaches or occurrences prior
to the closing that may give rise to such a breach (the “Assumed Obligations”); and in
consideration of the Lease herein being assigned to Assignee, Assignee hereby accepts this
assignment and agrees to assume and perform, and hereby assumes, all of the Assumed
Obligations contained in the Lease to be observed, kept, performed or complied with by Assignor
under the Lease from and after the Effective Date (and the Assignor shall remain liable for all
other duties, obligations, covenants, agreements, promises, terms, conditions and provisions
contained in the Lease).

        3.     Amendments to Lease. The Lease shall be amended, effective as of the
Effective Date, to reflect Assignee as the tenant thereunder, and Lessor hereby consents to the
Assignment and Amendment subject to the representations, warranties and conditions reflected
herein.

      4.   Representations, Warranties and Estoppel Certificate                                from
Assignment Parties. Assignor acknowledges, represents and warrants as follows:

        •      The Lease, as amended by this Assignment and Amendment (collectively, the
“Amended Lease”), is in full force and effect against Assignor, and has been so since the execution
of the Lease, and has not been modified, changed, altered, assigned, supplemented or amended
in any respect except for the First Amendment and Second Amendment. From the Tenant’s
perspective, the Lease is not in default and is valid and in full force and effect against Assignor on
the date hereof. The Lease represents the entire agreement between Assignor, as landlord, and
Assignor, as tenant, with respect to the premises.

        •       Assignor’s interest therein is free and clear from all encumbrances, and Assignor
has fully performed all covenants and obligations under the Lease and has not done or permitted
any act in violation of the covenants contained in the Lease;

       •       there are no attachments, executions, assignments for the benefit of creditors,
receiverships, conservatorships, or voluntary or involuntary proceedings in bankruptcy or
pursuant to any other laws for relief or debtors contemplated or filed by Assignor or pending
against Assignor, or involving the premises;

       •       Assignor has not subleased all or any portion of the leased premises or (prior to
the date hereof) assigned any of its rights under the Lease, nor pledged any interest therein;

       •       Assignor is in full and complete possession of the premises and prior to the date
hereof commenced full occupancy and use thereof except as to expansion space not yet occupied.
Assignor is operating at the premises under the name of Project Spokane.

       •      The rent and other charges payable in connection with the Lease are paid currently
through the date hereof, and:
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               •       no advance rent or other payment has been made in connection with the
Lease, except rent for the current month;

               •       there is no “free rent” or other rent concession or adjustments to which
Assignor is entitled under the remaining term of the Lease; and

               •       the Base Rent is set forth in Section 4(a) of the Lease.

       •       All obligations, commitments, space, payments, repairs, tenant improvements,
build out, inducements, other sums and conditions under the Lease to be performed to date by
Lessor have been satisfied, free of defenses and set-offs including any construction work on the
premises.

        •      There is no existing default or unfulfilled obligations on the part of Assignor in any
of the terms and conditions of the Lease, and no event has occurred or condition exists which,
with the passing of time or giving of notice or both, would constitute an event of default on the
part of Assignor under the Lease.

       •       Assignor claims no offsets, set-offs, rebates, adjustments, concessions, abatements
or defenses against or with respect to rent, additional rent, security deposits or other sums payable
under the terms of the Lease.

       •       Assignor has no option or right of first refusal to purchase the premises or any part
thereof.

       •       Assignor has not committed any violation of any environmental law or regulation
with respect to the premises.

        •      There are no unpaid or outstanding claims, bills or invoices for any labor
performed upon or materials furnished to either Assignor or the premises on its behalf for which
any lien or encumbrance including, without limitation, materialmen, suppliers and mechanic’s
liens, have been asserted or may be asserted against either Assignor or the premises.

       •      There are no existing, pending or threatened lawsuits affecting the premises or the
Lease to which Assignor is a party.

       •        Assignor has all applicable permits, licenses, certificates of occupancy and other
documentation required by the applicable governmental authorities in order to operate its
business in full accordance with the law.

       •       Assignor and Assignee have notified their insurance carriers of the change in lessee
under the Lease and owner of the operations conducted in the premises and owner of the personal
property and/or fixtures in the premises for purposes of the insurance carrier naming Lessor
under the Lease as additional insured, for liability and fire and casualty insurance coverages.
Further, fully effective as of the Effective Date, Lessor is named as an additional insured in
Assignee’s policies and promptly following the closing of the Transaction Assignee will provide
Lessor with such declaration pages and other certificates of insurance as are required to document
such coverage to Lessor’s satisfaction in its reasonable discretion.

        •      The Transaction has closed and, pursuant thereto, substantially all assets of
Assignor have been assigned, conveyed and fully transferred to Assignee, including substantially
all property and operations located in the premises.
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                                                                                      EXHIBIT 7.
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       5.       Attorneys' Fees. Should any party incur any costs or expenses, including
reasonable attorneys' fees, to enforce any of the provisions of this Agreement, the non-prevailing
party shall reimburse the prevailing party upon demand.

       6.     Counterparts. This Assignment and Amendment may be executed in one or
more counterparts, each of which shall be deemed an original, but all of which shall constitute
one and the same instrument. As used herein, "counterparts" shall include full copies of this
Agreement signed and delivered by facsimile transmission or electronic mail (“e-mail”)
correspondence, as well as photocopies of such facsimile transmission or e-mail correspondence.

        7.      Binding Effect. The provisions of this Assignment and Amendment shall be
binding upon and inure to the benefit of the heirs, representatives, successors and assigns of the
parties hereto.

                            Signatures on the Following Page
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 IN WITNESS WHEREOF, the parties have executed this Assignment and Amendment as of
the Effective Date.



                                                ASSIGNOR:

                                                  PROJECT SPOKANE, LLC
                                                  By: PS Mgt LLC, its Manager


                                                     By:
                                                           Sean Walsh
                                                           Manager



                                                ASSIGNEE:
                                                   HYPERBLOCK LLC



                                                   By:
                                                          Eric S
                                                               So
                                                                o
                                                          Chairman


                                                LESSOR:

                                                   BONNER PROPERTY
                                                   DEVELOPMENT, LLC



                                                   By:________________________________
                                                   Its: Co-Manager




Assignment, Assumption and Amendment of Lease
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                                                                  EXHIBIT 8.
                                                                    PAGE 1




Attachments:   F Hyperblock Term Sheet 9-14-18 (003).docx




  Term sheet regarding HyperBlock lease amendment.
  Sent from Nelson to Bjornson and Jake Pelczar of BOM
  on Friday, November 2, 2018 2:13:03 PM
       Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 20 of 201
                                                                                        EXHIBIT 8.
                                                                                          PAGE 2

Term Sheet Hyperblock
   -   Create amendment to the Lease.
   -   New 10 year lease period.
   -   New lease begins 3/1/19
   -   Secure $2.625m loan at Bank of Montana.
   -   Clause to allow us if we have to put Hyperblock office on commercial power. Only if no
       reasonable alternative. At worst case we would install a meter to determine
       Hyperblock’s electrical costs & charge them as part of their rent the same cost as they
       would have paid with their power. The only time this might be in effect is if we have a
       customer for the rest of the Sorter building that would not need a new electrical service.
   -   All leases maintain 2% annual increase.
   -   Accelerated payment schedule for the $2 + million loan payback. Provide us with an
       example of the free cash flow statement, the % of payment, so we know what to ask for
       & be able to determine payments. I think it will be 25% of free cash flow. Dan Stivers
       can help define this.
   -   UCC filings & lien releases for each job & piece of equipment putting Bonner Property
       Development LLC in a first lien position.
   -   All funds will be used for infrastructure & permanent buildings on this new project only.

   -   Noise for the new expansion could be an issue & will need to be resolved in a
       satisfactory manner.

   -    Substation Lease Appx. 125’ X 125’ including an easement for the power pole structures
       along the river bank. $5000.00 per month.
   -   Land lease: See attached exhibit. 106,650 sq. ft. $8,073.75 per month. $96,885.00
       annually.


Other Issues:
   -    Site Prep, relocate gravel & compact. Estimated at $227,000, we split the cost
       $158,500 Hyperbloch and $68,500 Bonner Property Developmnt LLC. This includes
       relocating the gravel. $205,000. New gas line. $8,000.00. Relocate fire hydrant.
       $4,000.00. Certify compaction. $10,000.00. Total $227,000.00.
   -    Sprinklers: Bonner Property Development replaces the new sprinkler heads & leases
       the appropriate lift at their sole cost, in the original leased area appx. 117,000 sq. ft.
       ASAP 60 days. Approximately 1700 sprinkler heads at $8.29 each. This cost will not
       exceed $45,000.00. Labor will be supplied by Hyperblock.
   -   Bonner Property Development LLC will replace the sprinkler heads in the other half of
       the space at its sole cost, as time permits no later than April 30, 2019.
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                                                                                         EXHIBIT 8.
                                                                                           PAGE 3

    -   BPD will & has installed a sump & gravel around the Pump house at its sole cost for the
        purpose of dust control.

    -   Hyperblock may install additional fans in the Planer building with approval of Landlord.
        Things to consider will be noise & the structural integrity of the building. The noise level
        from the existing large fans in the NE end of the planer building are excessive as noted
        in Big Sky Acoustics initial report on August 6, 2018. Hyperblock at its sole cost will
        mitigate this noise to a reasonable level.




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                                                                                                                        EXHIBIT 9.
                                                                                                                          PAGE 1
From:               David Bjornson
To:                 Jill Broughton
Subject:            FW: $2.625 m loan conditions.
Date:               Tuesday, November 27, 2018 2:40:04 PM
Attachments:        Spokane Project lease 3-1-16.pdf
                    First Amendment to Comercial Lease Agreement - BPD- Project Spokane - Fully Executed 12-23-16.pdf
                    2017.07.13 Second Lease Amendment BPD - ProjectSpokane EXECUTED.pdf




From: Big Sky Mobile Catering <bsmcorpmt@gmail.com>
Sent: Tuesday, November 27, 2018 12:46 PM
To: 'Jake Pelczar' <jpelczar@bankofmt.com>; 'Sean Walsh' <sean@hyperblock.co>
Cc: 'Dan Stivers' <dan@hyperblock.co>; mdbbpd@gmail.com; David Bjornson <david@bjornsonlaw.com>;
'Danny Day' <dday@bankofmt.com>
Subject: RE: $2.625 m loan conditions.

Jake, Here are the amendments & the lease. I will be talking to David shortly & have him finish up the lease
amendment. Let me know if you need anything else. Thx Steve.



From: Jake Pelczar [mailto:jpelczar@bankofmt.com]
Sent: Tuesday, November 27, 2018 12:10 PM
To: Sean Walsh <sean@hyperblock.co>; bsmcorpmt@gmail.com
Cc: Dan Stivers <dan@hyperblock.co>; mdbbpd@gmail.com; David@bjornsonlaw.com; Danny Day
<dday@bankofmt.com>
Subject: RE: $2.625 m loan conditions.

Sounds good, Everyone!

David/Steve, if you guys could send us copies of the lease amendments, that would be great. Sean, we’ll get
docs to you guys as soon as possible.

Thanks guys,

Jake

Jacob T. Pelczar
Vice President
Phone: 406.829.2662 / Fax: 406.829.2355
Bank of Montana
125 Bank Street, Suite 100
Missoula, MT 59802
NMLS: 944575

The information contained in this message is proprietary and/or confidential.
If you are not the intended recipient, please: (i) delete the message and all copies;
(ii) do not disclose, distribute or use the message in any manner; and (iii) notify
the sender immediately. In addition, please be aware that any message addressed
to our domain is subject to archiving and review by persons other than the intended
recipient. Thank you.
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From: Sean Walsh <sean@hyperblock.co>
Sent: Tuesday, November 27, 2018 10:04 AM
To: bsmcorpmt@gmail.com
Cc: Dan Stivers <dan@hyperblock.co>; mdbbpd@gmail.com; Jake Pelczar <jpelczar@bankofmt.com>;
David@bjornsonlaw.com
Subject: Re: $2.625 m loan conditions.

This works, Steve.

Jake - please send us final loan docs asap, so we can pass by the Hyperblock Board of Directors for approval.

Thank you,
Sean

On Tue, Nov 27, 2018 at 11:58 AM Steve Nelson <bsmcorpmt@gmail.com> wrote:
     Gentlemen: After a long night deliberating about our deal here is what we propose.
     We will close the loan with these conditions. David, you will need to incorporate these in the new lease.
     1). Once the loan is closed we will authorize the use of funds to pay off Missouri River Contracting for the
     dirt work behind the Sorter building. $150,000. In addition any loan fees the bank has can be paid at
     closing.
     2). Hyperblock agrees to sign the lease with the terms Dan & I have agreed to.
     3). Before we authorize any further expenditures from the loan at least $3 m of capital must be injected
     into HyperBlock. Of this $3 m $1 m must be used for any of the following.
       A. Build the 161,000 kva line across the river.
       B. Construct the substation or buy equipment for the substation.
       C. Complete additional infrastructure for the remainder of the 40 megawatt build out.

     The object here is to have a completed infrastructure ready for a 40 megawatt data center. I have heard
     estimates of $3.5 m to $3.8 m.
     When everything is complete if there is a balance of the $2.625 loan it can be used for buildings or further
     infrastructure on site.

     If this is agreeable to everyone & after some editing we will get Jake & David to draw up some documents.
     Thanks everyone. Steve.

     Sent from my iPhone



--
Phone - 650.409.7326

Executive Assistant - Kristen Martin - kristen@hyperblock.co - 720.390.8023

LinkedIn




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                                       SECURITY AGREEMENT


            FOR VALUE RECEIVED,

 Debtor:                                                Secured Party:

 Hyperblock LLC,                                        Bonner Property Development, LLC,
 a Delaware limited liability company                   a Montana limited liability company

 120 Adelaide Street West, Suite 2210                   224 North Higgins Ave
 Toronto, ON M5H 1T1.                                   Missoula, MT 59802




The Debtor hereby grants to Secured Party a continuing security interest on the terms and
conditions set forth in this Agreement, in all of Debtor’s right, title and interest in and to the
Debtor’s assets as set forth below, whether now owned or hereafter acquired and whether now
existing or hereafter arising (collectively the "Collateral"):

            To the extent acquired, improved or built in part and directly or indirectly with
            proceeds of the “Bank Loan” from Bank of Montana, as that term is defined in that
            certain Credit Enhancement Agreement executed by the Debtor and Secured Party
            concurrently herewith, the following:


            Furniture, equipment, fixtures, and other articles of personal property now or
            hereafter owned by Debtor; together with all accessions, parts, and additions
            to, all replacements of, and all substitutions for, any of such property; and
            together with all proceeds (including without limitation all insurance proceeds
            and refunds of premiums) from any sale or other disposition of any such
            property.


            In addition, the word "Collateral" also includes all the following, whether now
            owned or hereafter acquired, whether now existing or hereafter arising, and
            wherever located:
            (A) All accessions, attachments, accessories, tools, parts, supplies, replacements
            of and additions to any of the collateral described herein, whether added now or
            later.
            (B) All products and produce of any of the property described in this Collateral
            section.
            (C) All accounts, general intangibles, instruments, rents, monies, payments, and
            all other rights, arising out of a sale, lease, consignment or other disposition of any

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            of the property described in this Collateral section.
            (D) All proceeds (including insurance proceeds) from the sale, destruction, loss, or
            other disposition of any of the property described in this Collateral section, and
            sums due from a third party who has damaged or destroyed the Collateral or from
            that party's insurer, whether due to judgment, settlement or other process.
            (E) All records and data relating to any of the property described in this Collateral
            section, whether in the form of a writing, photograph, microfilm, microfiche, or
            electronic media, together with all of Debtor's right, title, and interest in and to all
            computer software required to utilize, create, maintain, and process any such
            records or data on electronic media.
            (F) All proceeds, including without limitation, any equipment purchased with
            proceeds, as well as all accessories, attachments, accessions, replacements and
            additions, whether added now or later, together with all insurance proceeds and
            refunds of insurance premiums, if any, and all sums that may be due from third
            parties who may cause damage to any of the foregoing, whether due to judgment,
            settlement or other process.


      Section 1. Obligations Secured by this Agreement. This Agreement secures the
payment and performance by the Debtor of the following obligations:

                            (i) All obligations owed by the Debtor to Secured Party arising out
            of the provision of guarantee and collateral generally described in that certain
            Credit Enhancement Agreement executed concurrently herewith, and that certain
            Lease Agreement dated March 1, 2016, as amended, including that certain Third
            Amendment to Commercial Lease, which amendment is executed concurrently
            herewith (the “Agreements”), of which Agreements the Debtor and the Secured
            Party are parties; provided, however, that this Agreement shall cease to secure any
            obligations Debtor, as tenant, may owe to Secured Party, as landlord, under said
            Lease Agreement dated March 1, 2016, as amended, including that certain Third
            Amendment to Commercial Lease once Debtor has fully repaid all principal and
            interest owing under a loan with principal balance of $2,625,000 between Debtor
            and the Bank of Montana (the “Bank Loan”);

                            (ii) All renewals, extensions, refinancing, modifications,
            substitutions, or consolidations of the Agreements; and

                          (iii) The performance of all of the Debtor's obligations under this
            Agreement or the Agreements (collectively the “Secured Obligations”).


        Section 2.      Maintenance of Security Interest. The Debtor agrees to take all
reasonable actions and execute instruments which the Secured Party may reasonably request in
order to create, perfect, evidence, determine the priority of, protect, enforce, continue, or
terminate the security interest created by this Agreement. The Debtor agrees to perform such


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actions at no cost to the Secured Party. The Secured Party may, but is not obligated to file any
document or agreement to put third parties on notice of its security interest.


        Section 3.     Release of Security Interest. Subject to Section 1(i), this Agreement will
remain in full force and effect until the Debtor satisfies all of its obligations under the
Agreements in full, performs all of the Debtor's obligations under this Agreement, and otherwise
satisfies the Secured Obligations. Upon such performance, the Secured Party will deliver a
U.C.C. termination statement to the Debtor or other instruments the Debtor reasonable requests.
The Debtor will be responsible for recording and filing all such releases at the Debtor's own
expense.


       Section 4.      Possession of Collateral. The Debtor will have the right to retain
possession of the Collateral and to use it in any lawful manner not inconsistent with the
provisions of this Agreement for so long as it complies with all requirements of this Agreement.
The Debtor expressly waives all right to possession of the Collateral after the occurrence of an
event of default, and agrees to deliver possession of the Collateral to the Secured Party promptly
upon demand after the occurrence of an event of default.


         Section 5.     Protection of Collateral. The Debtor (i) will pay promptly when due all
taxes, assessments, fees, and other charges levied on the ownership or use of the Collateral, and
(ii) will not do anything or permit anything to be done that would materially impair the value of
the Collateral or the security interest granted by this Agreement (this shall include, but not be
limited to, the disposing of any of the Collateral if not in the normal course of business).


         Section 6.     Inspection of Collateral. Upon 48 hours’ notice, the Secured Party or its
agent has the right to inspect and examine the Collateral at any reasonable time during normal
business hours on reasonable advance written notice, wherever it is located. The Debtor agrees to
assist the Secured Party in making such inspections, and to assemble the Collateral for the
Secured Party when the Secured Party asks it to do so, to the extent that it is reasonably able to
do so.


        Section 7.      Notification of Changes. The Debtor agrees to notify the Secured Party
immediately in writing of (i) any change in the jurisdiction of organization, or the name, address,
ownership, or place of business of the Debtor, (ii) any change in the location of the Collateral,
unless otherwise allowed by this Agreement, (iii) any loss of or damage to the Collateral, (iv)
any sale, exchange, lease, encumbrance, or other transfer of any of the Collateral or any interest
in the Collateral, except in the normal course of business, and (v) any other material change in
the business or financial condition of the Debtor, in the Collateral, or in the security provided by
this Agreement.




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        Section 8.    Events of Default. The Debtor will be in default under this Agreement if
any of the following events or conditions occur:

                  (i)     An event of default occurs under the Agreements or with regard to any
            documents or agreements related or connected to the Secured Obligations;

                    (ii)    The Commercial Lease for the property which is served by the Collateral,
            located in Bonner, Montana between Secured Party, as Landlord, and Debtor, as Tenant,
            is terminated for any reason;

                    (iii) The Debtor files a petition in bankruptcy, takes any action under any other
            law relating to the relief of debtors, makes a general assignment for the benefit of
            creditors, or consents to the appointment of a receiver or trustee for any substantial part
            of the Debtor's property;

                    (iv)    An involuntary petition in bankruptcy is filed against the Debtor or a
            receiver or trustee is appointed to take possession of any substantial part of the property
            of the Debtor, and the petition or appointment is not withdrawn within 60 days;

                   (v)    Any substantial part of the property of the Debtor is seized, attached or
            garnished and not dismissed within 60 days;

                    (vi)   The Debtor fails to perform any obligation or comply with any
            requirement of this Agreement and does not cure such failure within 30 days of written
            notice from the Secured Party; or

                    (vii) There is a default under any document or agreement related or connected
            to the Agreements.


        Section 9.       Remedies on Default. (a) Upon the occurrence of any of the events of
default listed in the previous section of this Agreement the Secured Party may, at its election,
exercise any or all of the following rights and remedies:

                   (i)     The Secured Party may require the Debtor to assemble the Collateral and
            make it available to the Secured Party at a place designated by the Secured Party which is
            reasonably convenient to both parties to the extent it can reasonably be so assembled. The
            Debtor agrees to use reasonable efforts to comply promptly with any such demand.

                   (ii)     The Secured Party may, with legal process, enter the premises where the
            Collateral is located and take possession of and remove it.

                    (iii) The Secured Party may sell all or any part of the Collateral in any
            commercially reasonable manner, at public or private sale, in one or more sales or lots,
            and at any price and on any terms that the Secured Party considers reasonable. The
            Secured Party may be a purchaser at any such sale unless it is prohibited from being a


SECURITY AGREEMENT – HYPERBLOCK LLC                                                           PAGE 4 OF 7
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            purchaser by law. The sale may be made without any demand for performance, notice of
            intention to sell, or notice of the time or place of sale, except to the extent that such notice
            is required by the Montana enactment of Article 9 of the Uniform Commercial Code and
            cannot be waived. The Secured Party will apply the net proceeds of any sale, after
            deducting its expenses in taking, storing, insuring, repairing, and selling the Collateral,
            including reasonable attorneys' fees, to payment or reduction of the Secured Obligations
            in any order and amount chosen by the Secured Party. The Debtor will remain liable to
            the Secured Party for any deficiency, and the Secured Party will pay any excess proceeds
            to the Debtor.

                    (iv)    The Secured Party may exercise any and all other remedies available to it
            at law or in equity.

       (b) The rights and remedies of the Secured Party under this Agreement are cumulative
and not alternative, and may be exercised concurrently or successively.


        Section 10. Successors Bound by Agreement. This Agreement is binding upon and
will inure to the benefit of the parties and their heirs, executors, representatives, successors and
assigns.


        Section 11. Assignment by Secured Party. The Secured Party may assign, transfer or
deliver any or all of the Secured Obligations, and any or all of its rights under this Agreement
without the prior written consent of Debtor. Debtor may not assign it rights or obligations
hereunder without the prior written consent of the Secured Party, which may be withheld in the
Secured Party’s sole discretion.


        Section 12. Modification of Agreement. No modification of this Agreement will be
valid or binding unless the modification is in writing, signed by all parties to this Agreement.


        Section 13. Waiver. No waiver of any provision of this Agreement will be valid or
binding unless the waiver is in writing, signed by the party waiving the provision. The failure of
any party to this Agreement to exercise any right or remedy provided for in this Agreement or to
insist upon the strict performance of any provision of this Agreement will not be a waiver of that
party's right to exercise that right or remedy or insist upon the strict performance of that
provision in the future.


        Section 14. Notice. Any notice that this Agreement requires or permits to be delivered
to any person will be in writing and will be effective when delivered. Such notices shall be sent
the addresses first listed above, as may be changes from time to time by written notice.




SECURITY AGREEMENT – HYPERBLOCK LLC                                                             PAGE 5 OF 7
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        Section 15. Attorneys' Fees. If either of the parties to this Agreement institute legal
proceedings to enforce the terms of this Agreement, the parties agree that the prevailing party in
the proceedings will be entitled to recover the reasonable attorney's fees and legal costs it incurs
prior to and at trial and on any appeal or discretionary review, as they may be approved by the
court having jurisdiction over the proceedings, with a limit of $40,000.


       Section 16. Time of Essence. Time will be of the essence in complying with the terms
and conditions of this Agreement.


       Section 17. Headings. The headings, titles and subtitles in this Agreement are inserted
for convenience of reference only, do not in any way limit or amplify the terms and provisions of
this Agreement, and are to be ignored in any construction of the provisions of this Agreement.


       Section 18. Applicable Law. This Agreement will be governed by and construed in
accordance with the laws of the State of Montana applicable to agreements entered into and
performed in the State of Montana.


      Section 19. Counterpart Signatures. This Agreement may be executed in any
number of counterparts and when taken together shall constitute one original document.


                                       SIGNATURE APPEARS ON FOLLOWING PAGE




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                                           THIRD AMENDMENT
                                                   TO
                                       COMMERCIAL LEASE AGREEMENT


         THIS THIRD AMENDMENT TO LEASE AGREEMENT (“Third Amendment”) is entered
into effective as of December 13, 2018, by and between Bonner Property Development, LLC,
a Montana limited liability company ("Landlord"), and Hyperblock LLC, a Delaware limited
liability company ("Tenant").

                                                     Recitals

        A.     Effective March 1, 2016, Landlord and Project Spokane, LLC entered into that
certain Commercial Lease Agreement (the “Lease”) for certain real property premises located in
the Bonner Mill Site in Bonner, Montana as further described in the Lease. Capitalized terms not
otherwise defined herein shall be as defined in the Lease.

      B.     The original parties executed that certain First Amendment to Commercial Lease
Agreement in December 2016, effective January 1, 2017, and that certain Second Amendment to
Commercial Lease Agreement dated July 13, 2017, but effective January 1, 2017 (the “Lease
Amendments”).

        C.    The Lease was assigned to and assumed by Hyperblock LLC pursuant to that
certain Assignment, Assumption and Amendment of Lease executed effective July 10, 2018.

      D.     Tenant wishes to expand and improve its space within the Bonner Mill Site in
Bonner, Montana, to undertake some improvements and to extend the term of the Lease.

        E.      As part of the expansion and further improvements, Tenant is engaging in
fundraising through equity contributions of a minimum of $3,000,000.00 (USD) and from
additional borrowing of $2,625,000.00 (USD) from the Bank of Montana (the “New Loan” as
defined below). Tenant has committed to the expenditure of certain of the new equity proceeds
and all of the proceeds of the New Loan to improvements to be located on the Property (as that
term is defined in the Lease as amended by the Lease Amendments and this Third Amendment).

        F.      The parties wish to amend the Lease to reflect the additional premises, the
commitment of Tenant to the improvements and for various other agreements between them. All
dollar figures in this Agreement are U.S. Dollars.

                                                  Amendments

            Landlord and Tenant agree as follows:

      1. Property.

          a.          Revised Description of “Property”. New third and fourth paragraphs of
Section 1.a. shall be added to the Lease, as follows:

                             iii. Bare land located behind the Sorter building of approximately 106,65o

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                                       square feet, as reflected on the site plan on Exhibit E.

                             iv. Land for the power substation consisting of 15,625 square feet (125 x 125),
                                 located as reflected on the site plan on Exhibit F. In addition to such
                                 land, Landlord shall grant to Tenant an easement for power poles to be
                                 located along the river bank, as reflected on Exhibit B.


                  b. Section 1.b.I. shall be amended to add new subsections iii) and iv), to read as
follows:


                                       iii)   Respecting the land described in Section 1.a.iii, Landlord will cause
                                              the gas lines to be moved, fire hydrant to be relocated and for gravel
                                              to be relocated and compacted in the manner already agreed by
                                              Landlord and Tenant, at a total cost of $227,000, to be shared 30%
                                              by Landlord and 70% by Tenant (with estimated totals of $68,500
                                              and $158,500, respectively), Tenant’s portion to be funded by
                                              Tenant from the initial disbursement of the New Loan.

                                       iv)    Sprinkler replacement: Landlord will provide sprinkler heads in
                                              the area originally leased by Tenant under the original Lease
                                              Agreement in the Planer Building (approximately 1,700 heads) and
                                              will provide the use of a lift for use by Tenant in replacing such
                                              sprinkler heads; provided, however, the total cost to Landlord shall
                                              not exceed $45,000.00. All labor is to be provided by Tenant or at
                                              Tenant’s cost. The sprinkler heads in the other half of the space in
                                              the Planer Building (the “Expansion Space” as referenced in the
                                              Lease and Lease Amendments) which Landlord is solely obligated
                                              to maintain and replace pursuant to the Lease and Lease
                                              Amendments, will be replaced by Landlord no later than April 30,
                                              2019.


                  c. The following new subsections ix) shall be added to Section 1.b.II.

                               ix)    As part of the expansion and further improvements, Tenant is
                      engaging in fundraising through equity contributions of a minimum of
                      $3,000,000.00 (“New Equity”) and from additional borrowing of $2,625,000.00
                      from the Bank of Montana (“New Loan”). Tenant has committed to the expenditure
                      of no less than $1,000,000 of the New Equity proceeds and all of the proceeds of
                      the New Loan to improvements on the Property including a 40 megawatt substation
                      and related improvements. In connection with the New Loan, Landlord has agreed
                      to provide certain credit enhancements through the pledge of Landlord’s property
                      to support such loan under the terms and conditions of this Third Amendment and
                      that certain Credit Enhancement Agreement between Tenant and Landlord
                      executed concurrently herewith. Concerning the administration of the New Loan,
                      Tenant agrees and Landlord approves and authorizes as follows:

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                                       A. The New Loan will be closed within 30 days of the date
                                          hereof.
                                       B. From the closing of the New Loan shall be paid the Tenant’s
                                          share of the cost of those certain improvements described in
                                          Section 1.B.I.iii) in the amount of $158,500 plus any bank
                                          loan fees and other charges as set forth in the Bank of
                                          Montana Disbursement Request and Authorization form.
                                       C. Landlord shall not be obligated to approve further
                                          disbursements by Lender under the New Loan except and
                                          until as follows:
                                               i. Tenant has provided Landlord reasonable evidence
                                                  that Tenant raised at least $3,000,000.00 in New
                                                  Equity proceeds; and
                                              ii. Tenant has provided Landlord reasonable evidence
                                                  that Tenant spent, or irrevocably committed to
                                                  spend in a manner expressly approved by Landlord
                                                  in writing, at least $1,000,000.00 of the New Equity
                                                  to:
                                                       1. Build the 161,000 kva power line across the
                                                          river; and/or
                                                       2. Construct a 40 megawatt power substation
                                                          on the Property to provide additional power
                                                          supply to the operation of Tenant’s business
                                                          on the Property (the “new Substation”);
                                                          and/or
                                                       3. Acquire the equipment for said New
                                                          Substation; and/or
                                                       4. Complete additional infrastructure for the
                                                          remainder of buildout of said New
                                                          Substation.
                                             iii. After full satisfaction of i. and ii. above, Landlord
                                                  agrees to provide Bank of Montana and/or the
                                                  applicable title company Landlord’s approval and
                                                  authorization for disbursements on the New Loan
                                                  provided Borrower submits to Landlord and the
                                                  Bank of Montana fully detailed draw requests for
                                                  disbursements         supported       by     adequate
                                                  documentation that the disbursements are
                                                  appropriate, and within the scope of and in
                                                  accordance with plans and specifications approved
                                                  in writing by Landlord.

      2. Term; Occupancy.

                  a. Section 2.a. Section 2.a. of the Lease shall be amended to provide that the term
                     of the Lease, as amended and extended, shall extend through February 28, 2029.


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                        Additionally, the Renewal Periods shall be amended so that Tenant shall have the
                        option to renew the Lease for two (2) additional periods of ten (10) years each.

      3. Rent.
            a. Base Rent. Sections 4.a.(i), (ii) and (iii) shall be amended and restated in their
               entirety, beginning effective March 1, 2019, to read as follows:

                                       (i)   The Base Rent payable hereunder shall initially be as follows:

                                                A. $75,506.85 per month which is based on $3.71 per square
                                                    foot per year multiplied by the square footage of the
                                                    “Planer Building” and “Sorter Building” portions of the
                                                    Property currently occupied by Tenant, 243,949 square
                                                    feet, divided by 12 months; plus

                                                B. $96,885.00 per year, or $8,073.75 per month, for the
                                                   approximately 106,650 square feet of bare land as set forth
                                                   in Section 1.a.iii and reflected on the site plan on Exhibit
                                                   E; plus

                                                C. $60,000.00 per year, or $5,000.00, for the approximately
                                                    15,625 square feet (125’ x 125’) of land for the power
                                                    substation as set forth in Section 1.a.iv and reflected on the
                                                    site plan on Exhibit F,

                                             The Base Rent for the buildings as set forth in Section 4.a.(i).A,
                                             above, shall be referred to herein as the “Building Base Rent”. The
                                             Base Rent for the bare land as set forth in Section 4.a.(i).B and
                                             4.a.(i).C, above, shall be referred to herein as the “Land Base
                                             Rent”. The Building base Rent and the Land Base Rent shall be
                                             collectively referred to herein as the “Base Rent”. The Base Rent
                                             as set forth above shall continue at this rate for through February
                                             28, 2020. On March 1, 2020, and then again on March 1st of each
                                             year thereafter, hereinafter referred to as a “Lease Anniversary
                                             Date,” the Base Rent will increase two percent (2%) per annum.

                              (ii)      If Tenant exercises the Expansion Space Option, the Building Base
                        Rent payable shall be increased proportionally based on the increased square
                        footage for the “Planer Building” and Sorter Building” portions of the Property and
                        the Expansion Space that will be leased by Tenant. Specifically, if Tenant exercises
                        the Expansion Space Option the new square footage of “Planer Building” and
                        Sorter Building” space being leased by Tenant upon which Building Base Rent will
                        be based will be 243,949 square feet currently comprising the Building Base Rent
                        plus 59,000 square feet (the Expansion Space) for total of 302,949 square feet.

                             (iii)    Beginning January 1, 2017, Tenant shall transfer two Bitcoins per
                        month to the wallet(s) or other destination directed by Landlord from time to time

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                        for sixty (60) consecutive months; provided that should the value of a Bitcoin
                        exceed $5,000.00 each at the time of any transfer, the number of Bitcoin required
                        to be transferred shall be limited to a total value of $10,000.00 per month, with
                        any partial Bitcoins not capable of being so transferred carrying over to be
                        transferred in the next succeeding month in addition to any Bitcoin required to be
                        transferred in such succeeding month. Any fractional Bitcoin remaining
                        untransferred after 60 months pursuant to this limitation shall be paid in cash in
                        the month succeeding the 60th month.

    4. Pledge by Landlord for Bank of Montana Loan for Infrastructure and Improvements.
Landlord has agreed, subject to certain terms and conditions, to pledge certain of its property to
the Bank of Montana to secure the New Loan to Tenant, under which Tenant will construct
certain infrastructure and improvements on the Property. The terms and conditions of this
arrangement is set forth in that certain Credit Enhancement Agreement negotiated and executed
by the parties contemporaneously with this Third Amendment. Execution of this Third
Amendment is conditioned upon execution of the Credit Enhancement Agreement and vice
versa.
    5. Commercial Power. In Landlord’s discretion at any time during the term of the Lease, it
shall have the right to cause Tenant’s power needs relating to Tenant’s use of the Sorter Building
portion of the Property currently occupied by Tenant to be serviced through a commercial power
service, with Tenant’s power to be separately metered and billed. All costs of the equipment,
lines and any increase in the cost of power relating to servicing the Sorter Building occupied by
Tenant through a commercial power service shall be borne by Landlord.
    6. Noise – Expansion. The parties mutually acknowledge that noise caused by Tenant’s
operations has been an issue in the Bonner, Montana locale. Relative to the installation and
operation of any new equipment, including servers and fans, Tenant shall make a good faith
effort to address noise levels, mitigation steps and limits that may be related to said new
equipment.
   7. Remaining Provisions of Lease. To the extent not modified herein, all remaining
provisions of the Lease and Lease Amendments shall remain in full force and effect, and are
hereby reaffirmed.

    8. Counterparts. This Third Amendment may be signed in counterparts and the
counterparts assembled into one or more originals. The counterparts shall be deemed delivered
to the receiving party upon delivery of the signed counterparts to the receiving party's authorized
representative.


                                       - SIGNATURES APPEAR ON FOLLOWING PAGE -




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                                                       EXHIBIT E

                                       Bare Land located behind the Sorter building




Exhibits to Third Amendment to Commercial Lease Agreement
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                                                    EXHIBIT F

                     Land for the power substation consisting of 15,625 square feet (125 x 125)




Exhibits to Third Amendment to Commercial Lease Agreement
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                                                               of land for power                                             APPROX. LOCATION OF
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                                                                                                      EXIST. SEPTIC SYSTEM




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             (i)

                     A.




                     C.




            (ii)




            (iii)
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    4. Pledge by Landlord for Bank of Montana Loan for Infrastructure and Improvements.
Landlord has agreed, subject to certain terms and conditions, to pledge certain of its property to
the Bank of Montana to secure the New Loan to Tenant, under which Tenant will construct
certain infrastructure and improvements on the Property. The terms and conditions of this
arrangement is set forth in that certain Credit Enhancement Agreement negotiated and executed
by the parties contemporaneously with this Third Amendment. Execution of this Third
Amendment is conditioned upon execution of the Credit Enhancement Agreement and vice
versa.
    5. Commercial Power. In Landlord’s discretion at any time during the term of the Lease, it
shall have the right to cause Tenant’s power needs relating to Tenant’s use of the
                                                        to be serviced through a commercial power
service, with Tenant’s power to be separately metered and billed. All costs of the equipment,
lines and any increase in the cost of power relating to servicing the Sorter Building occupied by
Tenant through a commercial power service shall be borne by Landlord.
    6. Noise – Expansion. The parties mutually acknowledge that noise caused by Tenant’s
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equipment.
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                                                                                        EXHIBIT 17.
                                                                                          PAGE 13

                                   SECURITY AGREEMENT


       FOR VALUE RECEIVED,

 Debtor:                                           Secured Party:

 Hyperblock LLC,                                   Bonner Property Development, LLC,
 a Delaware limited liability company              a Montana limited liability company

 120 Adelaide Street West, Suite 2210              224 North Higgins Ave
 Toronto, ON M5H 1T1.                              Missoula, MT 59802




The Debtor hereby grants to Secured Party a continuing security interest on the terms and
conditions set forth in this Agreement, in all of Debtor’s right, title and interest in and to the
Debtor’s assets as set forth below, whether now owned or hereafter acquired and whether now
existing or hereafter arising (collectively the "Collateral"):

       To the extent acquired, improved or built in part and directly or indirectly with
       proceeds of the “Bank Loan” from Bank of Montana, as that term is defined in that
       certain Credit Enhancement Agreement executed by the Debtor and Secured Party
       concurrently herewith, the following:


       Furniture, equipment, fixtures, and other articles of personal property now or
       hereafter owned by Debtor; together with all accessions, parts, and additions
       to, all replacements of, and all substitutions for, any of such property; and
       together with all proceeds (including without limitation all insurance proceeds
       and refunds of premiums) from any sale or other disposition of any such
       property.


       In addition, the word "Collateral" also includes all the following, whether now
       owned or hereafter acquired, whether now existing or hereafter arising, and
       wherever located:
       (A) All accessions, attachments, accessories, tools, parts, supplies, replacements
       of and additions to any of the collateral described herein, whether added now or
       later.
       (B) All products and produce of any of the property described in this Collateral
       section.
       (C) All accounts, general intangibles, instruments, rents, monies, payments, and
       all other rights, arising out of a sale, lease, consignment or other disposition of any
     Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 156 of 201
                                                                                         EXHIBIT 17.
                                                                                           PAGE 14

       of the property described in this Collateral section.
       (D) All proceeds (including insurance proceeds) from the sale, destruction, loss, or
       other disposition of any of the property described in this Collateral section, and
       sums due from a third party who has damaged or destroyed the Collateral or from
       that party's insurer, whether due to judgment, settlement or other process.
       (E) All records and data relating to any of the property described in this Collateral
       section, whether in the form of a writing, photograph, microfilm, microfiche, or
       electronic media, together with all of Debtor's right, title, and interest in and to all
       computer software required to utilize, create, maintain, and process any such
       records or data on electronic media.
       (F) All proceeds, including without limitation, any equipment purchased with
       proceeds, as well as all accessories, attachments, accessions, replacements and
       additions, whether added now or later, together with all insurance proceeds and
       refunds of insurance premiums, if any, and all sums that may be due from third
       parties who may cause damage to any of the foregoing, whether due to judgment,
       settlement or other process.


      Section 1. Obligations Secured by this Agreement. This Agreement secures the
payment and performance by the Debtor of the following obligations:

                       (i) All obligations owed by the Debtor to Secured Party arising out
       of the provision of guarantee and collateral generally described in that certain
       Credit Enhancement Agreement executed concurrently herewith, and that certain
       Lease Agreement dated March 1, 2016, as amended, including that certain Third
       Amendment to Commercial Lease, which amendment is executed concurrently
       herewith (the “Agreements”), of which Agreements the Debtor and the Secured
       Party are parties; provided, however, that this Agreement shall cease to secure any
       obligations Debtor, as tenant, may owe to Secured Party, as landlord, under said
       Lease Agreement dated March 1, 2016, as amended, including that certain Third
       Amendment to Commercial Lease. once Debtor has fully repaid all principal and
       interest owing under a loan with principal balance of $2,625,000 between Debtor
       and the Bank of Montana (the “Bank Loan”);

                       (ii) All renewals, extensions, refinancing, modifications,
       substitutions, or consolidations of the Agreements; and

                     (iii) The performance of all of the Debtor's obligations under this
       Agreement or the Agreements (collectively the “Secured Obligations”).


        Section 2.      Maintenance of Security Interest. The Debtor agrees to take all
reasonable actions and execute instruments which the Secured Party may reasonably request in
order to create, perfect, evidence, determine the priority of, protect, enforce, continue, or
terminate the security interest created by this Agreement. The Debtor agrees to perform such
     Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 157 of 201
                                                                                       EXHIBIT 17.
                                                                                         PAGE 15

actions at no cost to the Secured Party. The Secured Party may, but is not obligated to file any
document or agreement to put third parties on notice of its security interest.


         Section 3.    Release of Security Interest. Subject to Section 1(i), this Agreement will
remain in full force and effect until the Debtor satisfies all of its obligations under the
Agreements in full, performs all of the Debtor's obligations under this Agreement, and otherwise
satisfies the Secured Obligations. Upon such performance, the Secured Party will deliver a
U.C.C. termination statement to the Debtor or other instruments the Debtor reasonable requests.
The Debtor will be responsible for recording and filing all such releases at the Debtor's own
expense.


       Section 4.      Possession of Collateral. The Debtor will have the right to retain
possession of the Collateral and to use it in any lawful manner not inconsistent with the
provisions of this Agreement for so long as it complies with all requirements of this Agreement.
The Debtor expressly waives all right to possession of the Collateral after the occurrence of an
event of default, and agrees to deliver possession of the Collateral to the Secured Party promptly
upon demand after the occurrence of an event of default.


         Section 5.     Protection of Collateral. The Debtor (i) will pay promptly when due all
taxes, assessments, fees, and other charges levied on the ownership or use of the Collateral, and
(ii) will not do anything or permit anything to be done that would materially impair the value of
the Collateral or the security interest granted by this Agreement (this shall include, but not be
limited to, the disposing of any of the Collateral if not in the normal course of business).


         Section 6.     Inspection of Collateral. Upon 48 hours’ notice, the Secured Party or its
agent has the right to inspect and examine the Collateral at any reasonable time during normal
business hours on reasonable advance written notice, wherever it is located. The Debtor agrees to
assist the Secured Party in making such inspections, and to assemble the Collateral for the
Secured Party when the Secured Party asks it to do so, to the extent that it is reasonably able to
do so.


        Section 7.      Notification of Changes. The Debtor agrees to notify the Secured Party
immediately in writing of (i) any change in the jurisdiction of organization, or the name, address,
ownership, or place of business of the Debtor, (ii) any change in the location of the Collateral,
unless otherwise allowed by this Agreement, (iii) any loss of or damage to the Collateral, (iv)
any sale, exchange, lease, encumbrance, or other transfer of any of the Collateral or any interest
in the Collateral, except in the normal course of business, and (v) any other material change in
the business or financial condition of the Debtor, in the Collateral, or in the security provided by
this Agreement.
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                                                                                       EXHIBIT 17.
                                                                                         PAGE 16

        Section 8.    Events of Default. The Debtor will be in default under this Agreement if
any of the following events or conditions occur:

             (i)     An event of default occurs under the Agreements or with regard to any
       documents or agreements related or connected to the Secured Obligations;

               (ii)    The Commercial Lease for the property which is served by the Collateral,
       located in Bonner, Montana between Secured Party, as Landlord, and Debtor, as Tenant,
       is terminated for any reason;

               (iii) The Debtor files a petition in bankruptcy, takes any action under any other
       law relating to the relief of debtors, makes a general assignment for the benefit of
       creditors, or consents to the appointment of a receiver or trustee for any substantial part
       of the Debtor's property;

               (iv)    An involuntary petition in bankruptcy is filed against the Debtor or a
       receiver or trustee is appointed to take possession of any substantial part of the property
       of the Debtor, and the petition or appointment is not withdrawn within 60 days;

              (v)    Any substantial part of the property of the Debtor is seized, attached or
       garnished and not dismissed within 60 days;

               (vi)   The Debtor fails to perform any obligation or comply with any
       requirement of this Agreement and does not cure such failure within 30 days of written
       notice from the Secured Party; or

               (vii) There is a default under any document or agreement related or connected
       to the Agreements.


        Section 9.       Remedies on Default. (a) Upon the occurrence of any of the events of
default listed in the previous section of this Agreement the Secured Party may, at its election,
exercise any or all of the following rights and remedies:

              (i)     The Secured Party may require the Debtor to assemble the Collateral and
       make it available to the Secured Party at a place designated by the Secured Party which is
       reasonably convenient to both parties to the extent it can reasonably be so assembled. The
       Debtor agrees to use reasonable efforts to comply promptly with any such demand.

              (ii)     The Secured Party may, with legal process, enter the premises where the
       Collateral is located and take possession of and remove it.

               (iii) The Secured Party may sell all or any part of the Collateral in any
       commercially reasonable manner, at public or private sale, in one or more sales or lots,
       and at any price and on any terms that the Secured Party considers reasonable. The
       Secured Party may be a purchaser at any such sale unless it is prohibited from being a
     Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 159 of 201
                                                                                         EXHIBIT 17.
                                                                                           PAGE 17

       purchaser by law. The sale may be made without any demand for performance, notice of
       intention to sell, or notice of the time or place of sale, except to the extent that such notice
       is required by the Montana enactment of Article 9 of the Uniform Commercial Code and
       cannot be waived. The Secured Party will apply the net proceeds of any sale, after
       deducting its expenses in taking, storing, insuring, repairing, and selling the Collateral,
       including reasonable attorneys' fees, to payment or reduction of the Secured Obligations
       in any order and amount chosen by the Secured Party. The Debtor will remain liable to
       the Secured Party for any deficiency, and the Secured Party will pay any excess proceeds
       to the Debtor.

               (iv)    The Secured Party may exercise any and all other remedies available to it
       at law or in equity.

       (b) The rights and remedies of the Secured Party under this Agreement are cumulative
and not alternative, and may be exercised concurrently or successively.


        Section 10. Successors Bound by Agreement. This Agreement is binding upon and
will inure to the benefit of the parties and their heirs, executors, representatives, successors and
assigns.


        Section 11. Assignment by Secured Party. The Secured Party may assign, transfer or
deliver any or all of the Secured Obligations, and any or all of its rights under this Agreement
without the prior written consent of Debtor. Debtor may not assign it rights or obligations
hereunder without the prior written consent of the Secured Party, which may be withheld in the
Secured Party’s sole discretion.


        Section 12. Modification of Agreement. No modification of this Agreement will be
valid or binding unless the modification is in writing, signed by all parties to this Agreement.


        Section 13. Waiver. No waiver of any provision of this Agreement will be valid or
binding unless the waiver is in writing, signed by the party waiving the provision. The failure of
any party to this Agreement to exercise any right or remedy provided for in this Agreement or to
insist upon the strict performance of any provision of this Agreement will not be a waiver of that
party's right to exercise that right or remedy or insist upon the strict performance of that
provision in the future.


        Section 14. Notice. Any notice that this Agreement requires or permits to be delivered
to any person will be in writing and will be effective when delivered. Such notices shall be sent
the addresses first listed above, as may be changes from time to time by written notice.
     Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 160 of 201
                                                                                        EXHIBIT 17.
                                                                                          PAGE 18

        Section 15. Attorneys' Fees. If either of the parties to this Agreement institute legal
proceedings to enforce the terms of this Agreement, the parties agree that the prevailing party in
the proceedings will be entitled to recover the reasonable attorney's fees and legal costs it incurs
prior to and at trial and on any appeal or discretionary review, as they may be approved by the
court having jurisdiction over the proceedings, with a limit of $40,000.


       Section 16. Time of Essence. Time will be of the essence in complying with the terms
and conditions of this Agreement.


       Section 17. Headings. The headings, titles and subtitles in this Agreement are inserted
for convenience of reference only, do not in any way limit or amplify the terms and provisions of
this Agreement, and are to be ignored in any construction of the provisions of this Agreement.


       Section 18. Applicable Law. This Agreement will be governed by and construed in
accordance with the laws of the State of Montana applicable to agreements entered into and
performed in the State of Montana.


      Section 19. Counterpart Signatures. This Agreement may be executed in any
number of counterparts and when taken together shall constitute one original document.


                       SIGNATURE APPEARS ON FOLLOWING PAGE
     Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 161 of 201
                                                                 EXHIBIT 17.
                                                                   PAGE 19

This Agreement is effective as of December ____, 2018.


DEBTOR:

Hyperblock LLC




By:__________________________

_____________________________
Its: __________________________
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                                                                                 EXHIBIT 18.
                                                                                    PAGE 1

Exhibit 18.          : Emails with Bowditch, Walsh, Nelson, Bjornson, Stivers, et. al., from
   December 2018 related to agreements, revisions, and Walsh’s participation in negotiations
   process:
            (i)   Emails between Bjornson and Bowditch on 12/7/2018-12/11/2018 with
                  comments to revised drafts (attachments omitted for brevity);
            (ii)  Emails between Bjornson and Bowditch on 12/12/2018-12/13/2018 (CC Walsh)
                  (Requesting final executed documents);
            (iii) Email from Kristen Martin (Walsh’s executive assistant) to group (including
                  Bowditch and Walsh) on 12/13/2018 at 11:42 AM (with documents executed by
                  Sean - attachments omitted for brevity);
            (iv)  Emails between Walsh and Bowditch (including Stivers) on 12/11/2018
                  (regarding approval to BPD’s security interest and language for Security
                  Amendment); 914 and 630 pm
                           Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 163 of 201
                                                                                                                     EXHIBIT 18.
                                                                                                                        PAGE 2
                  From:             David Bjornson
                  To:               jbowditch@boonekarlberg.com
                  Cc:               Jill Broughton
                  Subject:          RE: HYPERBLOCK documents
                  Date:             Tuesday, December 11, 2018 2:38:23 PM
                  Attachments:      Third Lease Amendment (JAB Revisions 12-6-2018) DHB COMMENTS.docx
Exhibit                             Credit Enhancement Agreement (JAB Revisions 12-6-2018).DHB COMMENTS.docx
18(i)                               Security Agreement (JAB Revisions 12-7-2018) (00649422).DHB COMMENTS.docx
(attachments omitted
for brevity)
                 Jaymie –

                 I have been through all of your comments, and have reviewed issues with our clients.
                 Many of your changes were beneficial clean up, so thank you. The attached reflect
                 just a few remaining issues for us to discuss and resolve. Feel free to give me a call
                 this afternoon. I have a conference call at 3 which will be around 30 minutes or so.
                 David




                                                 The information contained in this email message may be privileged or confidential
                 information and is intended only for the use of the individual or entity named above. If you have received this
                 communication in error, please notify us immediately by telephone and delete the message from your system.




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                                                                                                          EXHIBIT 18.
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Tax Advice Disclosure: To ensure compliance with requirements imposed by the IRS under Circular 230, please
be informed that any U.S. federal tax advice contained in this communication (including any attachments), unless
otherwise specifically stated, was not intended or written to be used, and cannot be used, for the purpose of (1)
avoiding penalties under the Internal Revenue Code or (2) promoting, marketing or recommending to another
party any matters addressed herein.

The information contained in this transmission may contain privileged and confidential information. It is intended
only for the use of the person(s) named above. If you are not the intended recipient, you are hereby notified that
any review, dissemination, distribution or duplication of this communication is strictly prohibited. If you are not the
intended recipient, please contact the sender by reply email and destroy all copies of the original message.
               Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 165 of 201
                                                                                                              EXHIBIT 18.
                                                                                                                 PAGE 4
          From:                     David Bjornson
          To:                       Jaymie Bowditch; Kristen Martin
          Cc:                       Sean Walsh; Eric So; Dan Stivers; Denise Cooper; Jill Broughton
          Subject:                  RE: Final Hyperblock/BPD Documents
          Date:                     Thursday, December 13, 2018 1:55:16 PM


          Received. Thank you. David
Exhibit
18(ii)




                                          The information contained in this email message may be privileged or confidential
          information and is intended only for the use of the individual or entity named above. If you have received this
          communication in error, please notify us immediately by telephone and delete the message from your system.




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     Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 166 of 201
                                                                                                          EXHIBIT 18.
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party any matters addressed herein.

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otherwise specifically stated, was not intended or written to be used, and cannot be used, for the purpose of (1)
avoiding penalties under the Internal Revenue Code or (2) promoting, marketing or recommending to another
         Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 167 of 201
                                                                                                          EXHIBIT 18.
                                                                                                             PAGE 6
party any matters addressed herein.

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intended recipient, please contact the sender by reply email and destroy all copies of the original message.


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Jaymie,

Please find attached the final Credit Enhancement Letter, Security Agreement and Third Lease
Amendment as executed by Sean. Can you please send through a fully executed copy for our
records?

Best,

Kristen

On Wed, Dec 12, 2018 at 8:21 PM Jaymie Bowditch <jbowditch@boonekarlberg.com> wrote:
    Sean,

    Attached are clean execution copies of the Credit Enhancement Agreement, Third
    Amendment to Lease and Security Agreement. If you prefer that we send these to you via
    DocuSign, please let us know and my paralegal will do so tomorrow.

    -- Jaymie



    James A. Bowditch
    President
    Boone Karlberg P.C.
    201 West Main St., Suite 300
    PO Box 9199
    Missoula, MT 59807-9199
    Phone: 406.543.6646
    Fax: 406.532.5752
    www.boonekarlberg.com

    ___________________________________________________

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    for the purpose of (1) avoiding penalties under the Internal Revenue Code or (2) promoting, marketing or
       Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 168 of 201
                                                                                                             EXHIBIT 18.
                                                                                                                PAGE 7
     recommending to another party any matters addressed herein.

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--
Kristen M. Martin
Executive Assistant to Sean M. Walsh
Mobile: 720.390.8023
                           Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 169 of 201
                                                                                                                           EXHIBIT 18.
                                                                                                                              PAGE 8
               From:                         David Bjornson
               To:                           Big Sky Mobile Catering; mdbbpd@gmail.com
               Cc:                           Jill Broughton
               Subject:                      FW: Final Hyperblock/BPD Documents
               Date:                         Thursday, December 13, 2018 11:47:45 AM
               Attachments:                  2018.12.13 - Credit Enhancement Agreement (Final) - SW Executed.pdf
                                             2018.12.13 - Security Agreement - Final - SW Executed.pdf
                                             2018.12.13 - Third Lease Amendment - Final - SW Executed.pdf


Exhibit
18(iii)
(attachments                    <       D
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                                                                                                          EXHIBIT 18.
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  ___________________________________________________

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  for the purpose of (1) avoiding penalties under the Internal Revenue Code or (2) promoting, marketing or
  recommending to another party any matters addressed herein.

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  original message.




Kristen M. Martin
Executive Assistant to Sean M. Walsh
Mobile: 720.390.8023
               Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 171 of 201
                                                                                              EXHIBIT 18.
                                                                                                PAGE 10
          From:           Sean Walsh
          To:             jbowditch@boonekarlberg.com
          Cc:             Eric So; David Bjornson; Dan Stivers; Kristen Martin
          Subject:        Re: Security Agreement
          Date:           Tuesday, December 11, 2018 6:30:27 PM


Exhibit   Hi Jaymie,
18(iv)
          That sounds reasonable to me.

          Thank you,
          Sean

          On Tue, Dec 11, 2018 at 9:14 PM Jaymie Bowditch <jbowditch@boonekarlberg.com> wrote:

            Sean/Eric,



            Concerning the Security Agreement, David wants to be certain that the obligations imposed
            on HB in the Third Amendment to Lease concerning the Credit Enhancement BPD is
            providing are secured by the 40 MW substation improvements. However, I do not want the
            security agreement to secure all obligations under the lease since the lease will be in effect
            well after the Bank of Montana loan is paid. I have therefore agreed to retain the language
            in Section 1 of the attached Security Agreement stating that said agreement secures
            obligation HB owes under the lease but have added language to clarify that the 40 MW
            substation only serves as collateral under the lease until the BoM loan is paid. Once the loan
            is paid, BPD can no longer look to the collateral as security for any other obligations owed
            by HB under the lease (e.g. the payment of rent).



            I am again sending this to David for him to review at the same time. In the attached I have
            accepted all of my changes I had proposed last Friday afternoon so the only thing in redline
            is the change to address the foregoing – which is in redline.



            ASAP Please let me know if this this acceptable to Hyperblock. Once I have obtained
            everyone’s consent to the documents I will send clean copies out for execution.



            -- Jaymie




            James A. Bowditch

            President
       Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 172 of 201
                                                                                                                                          EXHIBIT 18.
                                                                                                                                            PAGE 11
     Boone Karlberg P.C.

     201 West Main St., Suite 300

     PO Box 9199
     Missoula, MT 59807-9199
     Phone: 406.543.6646

     Fax: 406.532.5752
     www.boonekarlberg.com



     ___________________________________________________




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     purpose of (1) avoiding penalties under the Internal Revenue Code or (2) promoting, marketing or
     recommending to another party any matters addressed herein.




     The information contained in this transmission may contain privileged and confidential information. It is intended
     only for the use of the person(s) named above. If you are not the intended recipient, you are hereby notified that
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--
Phone - 650.409.7326

Executive Assistant - Kristen Martin - kristen@hyperblock.co - 720.390.8023

LinkedIn




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to the sender and delete all copies from your system. Thank you for your cooperation.
         Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 173 of 201
                                                                                 EXHIBIT 19.(i)
                                                                                      PAGE 1


                                         FOURTH AMENDMENT
                                                 TO
                                     COMMERCIAL LEASE AGREEMENT


        THIS FOURTH AMENDMENT TO LEASE AGREEMENT (“Fourth Amendment”) is
entered into effective as of January 23, 2019, by and between Bonner Property Development,
LLC, a Montana limited liability company ("Landlord"), and Hyperblock LLC, a Delaware
limited liability company ("Tenant").

                                               Recitals

        A.     Effective March 1, 2016, Landlord and Project Spokane, LLC entered into that
certain Commercial Lease Agreement (the “Lease”) for certain real property premises located in
the Bonner Mill Site in Bonner, Montana as further described in the Lease. Capitalized terms not
otherwise defined herein shall be as defined in the Lease.

        B.      The original parties executed that certain First Amendment to Commercial Lease
Agreement in December 2016, effective January 1, 2017 (the “First Amendment”) and that certain
Second Amendment to Commercial Lease Agreement dated July 13, 2017, but effective January
1, 2017 (the “Second Amendment”).

      C.     The Lease was assigned to and assumed by Tenant pursuant to that certain
Assignment, Assumption and Amendment of Lease executed effective July 10, 2018.

       D.    Landlord and Tenant executed that certain Third Amendment to Commercial
Lease Agreement dated and effective December 13, 2018 (the “Third Amendment”). The First
Amendment, Second Amendment and Third Amendment are collectively referred to herein as the
“Lease Amendments”.

       E.     As part of certain expansions and improvements Tenant is conducting at the
Bonner Mill Site in Bonner, Montana, Landlord has provided certain benefits to Tenant in
exchange for which Tenant is agreeable to a modification of the revised description of the
“Property” to provide that certain Tenant improvements to the Property are to remain on the
Property upon a termination or expiration of the Lease.

     F.     The parties wish to amend the Lease, as previously modified by the Second
Amendment, as set forth in this Fourth Amendment.

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Fourth Amendment to Commercial Lease Agreement                                           Page 1
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         Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 174 of 201
                                                                                                     EXHIBIT 19.(i)
                                                                                                          PAGE 2



                                                         Amendments

           Landlord and Tenant agree as follows:

      1. Property.

           a.        Revised Description of “Property”. The first paragraph of Section 1.a.
shall be amended and restated in its entirety to read as follows:

                       The following premises located within various improvements located within the
                       Bonner Mill Site in the City of Bonner Missoula County, Montana (collectively, the
                       “Property”):

                                     i.   A portion of the total square footage of the “Planer Building” for a total
                                          of 234,949 square feet as shown on the site plan attached as Exhibit
                                          A. The Planer Building in which the Property is located is
                                          approximately 300,715 square feet in total.

                                     ii. A portion of the total square footage of the “Sorter Building” for a total
                                         of 9,000 square feet as shown on the site plan attached as Exhibit B
                                         (the “Property”). The Sorter Building in which the Property is located
                                         is approximately 68,000 square feet in total.

                                          Any fixtures and personal property located on or about the Property as
                                          of the Lease Commencement Date (defined below) shall be considered
                                          part of the Property hereby leased and subject to all terms and
                                          conditions hereof. The term “Fixture” shall refer to those items so
                                          permanently attached or embedded to as to be considered part of the
                                          premises, as defined in Section 70-15-103, MCA. Upon termination or
                                          expiration of this Lease for any reason, Tenant shall be entitled to
                                          remove from the Property any improvements that Tenant has made to
                                          the Property and that are not considered “Fixtures.” As used herein the
                                          term “Fixture” shall not include unattached personal property,
                                          furniture, or trade fixtures of Tenant including those set forth in
                                          Exhibit E-1, attached hereto and incorporated herein by reference.
                                          Furthermore, however, whether or not best legally described as
                                          Fixtures, all property relating to electrical supply and distribution shall
                                          remain with the Property and become the property of Landlord at the
                                          termination of the Lease, including but not limited to the property
                                          described in Exhibit E-2, attached hereto and incorporated herein by
                                          reference.

                                          Landlord acknowledges and agrees that an important inducement to
                                          Tenant’s agreement to expand the Property leased by Tenant is
                                          Landlord’s agreement to lend to Tenant $1,200,000.00 pursuant to the
                                          terms of that certain Promissory Note between Landlord as lender and
                                          tenant as Borrower, dated December 23, 2016.

Fourth Amendment to Commercial Lease Agreement                                                               Page 2
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                                                                                           EXHIBIT 19.(i)
                                                                                                PAGE 4


                                                     EXHIBIT E-1

                             Items not to Remain with Property or be Treated as Fixtures

      -    All servers
      -    All network equipment




Exhibits to Fourth Amendment to Commercial Lease Agreement
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                                                                                         EXHIBIT 19.(i)
                                                                                              PAGE 5


                                               EXHIBIT E-2

                     Items to Remain with Property and Landlord Whether or not Fixtures

      - All electrical supply and distribution related property of any kind, including but not
      limited to substations, distribution lines, poles, switching gear, fans, panels, fans, wire, fuse
      systems
      - 5,000 KVA substations with associated switch gear
      - 225A distribution panels with main breaker
      - 500 KVA transformers 480Vto 208V
      - 36" Tubeaxial 3HP fans
      - 60" Tubeaxial 20Hp fans
      - 2500 feet of cable tray
      - 2500 feet of pallet racking
      - 150,000 feet of 10 gauge wire
      - 5 section 15KV fuse disconnect (outdoor)




Exhibits to Fourth Amendment to Commercial Lease Agreement
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                                                     EXHIBIT F

                                     Bare Land located behind the Sorter building




Exhibits to Fourth Amendment to Commercial Lease Agreement
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                                                                                          EXHIBIT 19.(i)
                                                                                               PAGE 8



                                                    EXHIBIT G

                     Land for the power substation consisting of 15,625 square feet (125 x 125)




Exhibits to Fourth Amendment to Commercial Lease Agreement
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                                                                                                                                                                                                         C-A1 ZONE DISTRICT




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                                                                                                                                                                                                                                                                                                                                                                                                            800.757.9522




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                                                                                                                                                                                                                                                                                                                                           EXIST. SEPTIC
                                                                                                                                                                                                                                                                                                                                           SYSTEM

                                                                                                                                                                                                                                                                                                                      PROPOSED FOOTPRINT
                                                                                                                                                                                                                                                                                                                      FOR NEW BUILDINGS.


                                                               15,625 square feet                                                                                                                        160'-0"                                  25'-0"
                                                                                                                                                                                                                                                                     25'-0"
                                                                                                                                                                                                                                                           160'-0"
                                                               of land for power                                             APPROX. LOCATION OF
                                                                                                                                                                                                                                                                                                                              TRACT 3A
                                                                                                                                                                                                                                                                                      160'-0"
                                                                                                                                 NEW SUBSTATION

                                                               substation                                                                                                                                                                                                                                                     110.26 ACRES

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                                                              ADJACENT
                                                              EXISTING
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                                                                                                                                                                                                                                                                                                                                                                                                                                  Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 181 of 201
                                                                                                                                                                                                                                                                                                                                                                EXHIBIT 19.(i)
                                                                                                                                                                                                                                                                                                                                                                     PAGE 9




                                                                                                      EXIST. SEPTIC SYSTEM




                                                         W
                                                                                                                                                                                                                                                                                                                                                                                                       ARCHITECTURAL SITE
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         1           ARCHITECTURAL SITE PLAN
       A001           1" = 80'-0"                              NORTH REF
                                                                                                                                                                                                                                                                                                                                                           NOT FOR CONSTRUCTION - PRELIMINARY DESIGN




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                                                                                                                                                                                                                                                                                                                                                                                                       A001
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                                                                          EXHIBIT 19.(ii)
                                                                               PAGE 1

                                 SIDE AGREEMENT

      THIS SIDE AGREEMENT (this “Agreement”) is entered into as of January 23,
2019, by and between Bonner Property Development, LLC, a Montana limited liability
company (“Landlord”) and Hyperblock LLC, a Delaware limited liability company
(“Tenant”).

                                      RECITALS

       A.     Effective March 1, 2016, Landlord and Project Spokane, LLC entered into
that certain Commercial Lease Agreement (the “Lease”) for certain real property premises
located in the Bonner Mill Site in Bonner, Montana as further described in the Lease.
Capitalized terms not otherwise defined herein shall be as defined in the Lease and/or
Lease Amendments.

       B.     The original parties executed that certain First Amendment to Commercial
Lease Agreement in December 2016, effective January 1, 2017, and that certain Second
Amendment to Commercial Lease Agreement dated July 13, 2017, but effective January
1, 2017 (which together with the Third Amendment, defined below, are herein collectively
referred to as the “Lease Amendments”).

      C.    The Lease was assigned to and assumed by Tenant pursuant to that certain
Assignment, Assumption and Amendment of Lease executed effective July 10, 2018.

      D.    Landlord and Tenant executed the Third Amendment to Commercial Lease
Agreement, effective December 13, 2018 (the “Third Amendment”) to allow Tenant to
expand and improve its space within the Bonner Mill Site in Bonner, Montana, to
undertake some improvements and to extend the term of the Lease.

       E.     As part of the expansion and further improvements, Tenant is engaging in
fundraising through equity contributions of a minimum of $3,000,000.00 (USD) and from
additional borrowing of $2,625,000.00 (USD) pursuant to the New Loan from the Bank of
Montana (as defined in the Third Amendment). Tenant has committed to the expenditure
of certain of the new equity proceeds and all of the proceeds of the New Loan to
improvements to be located on the Property (as that term is defined in the Lease as
amended by the Lease Amendments).

      F.     In connection with the New Loan, Landlord agreed to provide certain credit
enhancements through the pledge of Landlord’s property to support such loan under the
terms and conditions of the Third Amendment and that certain Credit Enhancement
Agreement between Tenant and Landlord executed December 13, 2018, including that
Landlord shall not be obligated to approve further disbursements by the Bank of Montana
under the New Loan except and until Tenant has provided reasonable evidence to




SIDE AGREEMENT                                                                    PAGE 1
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                                                                             EXHIBIT 19.(ii)
                                                                                  PAGE 2

Landlord that Tenant has raised at least $3,000,000.00 in New Equity proceeds, among
other obligations.

      G.      Although Tenant continues its efforts to raise New Equity proceeds, Tenant
has not yet raised at least $3,000.000.00.

     H.      The parties wish to move forward to construct the New Substation despite
New Equity proceeds not yet being contributed, and to document their agreements herein.

All dollar figures in this Agreement are U.S. Dollars.


                                      AGREEMENT

       NOW, THEREFORE, in consideration of the foregoing recitals, which are hereby
incorporated into this Agreement as if fully set forth herein, and the following terms and
conditions, and for other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the parties agree as follows:

       1.     Tenant shall deposit $1,000,000.00 into its account at the Bank of Montana.

       2.     Such funds shall only be used for improvements on the Property as further
described in the Third Amendment, and as drawn and disbursed under the procedures
provided therein.

         3.      Once $1,000,000.00 has been deposited and disbursed in accordance with
the terms and conditions of the Third Amendment, Landlord shall provide Landlord’s
approval and authorization to Bank of Montana and/or the applicable title company for
advances on and disbursements from the New Loan in the amount of up to
$1,000,000.00, which shall also be disbursed through title and applied in accordance with
the terms of the Third Amendment. In this regard, Landlord and Tenant agree that while
Tenant shall diligently continue its efforts to raise New Equity proceeds, Tenant shall not
be obligated to provide Landlord evidence that Tenant has raised at least $3,000,000.00
in New Equity proceeds as condition to Landlord approving up to (but no more than)
$1,000,000.00 in disbursements by Lender under the New Loan, and that subsection
1.b.II.ix) of the Lease (as set forth in subsection 1.c. of the Third Amendment) is modified
accordingly.

         4.     All remaining provisions of the Lease and Lease Amendments shall remain
in full force and effect, and are hereby reaffirmed.




SIDE AGREEMENT
       PAGE 2
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                                                                      EXHIBIT 19.(ii)
                                                                           PAGE 3

      5.     This Agreement may be executed in two or more counterparts, each of
which shall be deemed an original, but all of which together shall constitute and be
construed as one and the same instrument.

        IN WITNESS WHEREOF, the parties have executed this Agreement as of the date
first written above.

                             [Signature pages follow]




SIDE AGREEMENT
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                                                          EXHIBIT 19.(ii)
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                                                                                       EXHIBIT 20.
                                                                                          PAGE 1

Exhibit 20.             Emails RE restructuring:
              (i)    Email from Bowditch to DHB on 01/18/2019 at 2:51 PM (with statement by
                     Jaymie regarding Walsh’s approval of revisions: “I think Sean is okay with the
                     revisions to Exhibit E that Steve has proposed.”)
              (ii)   Email from Bowditch to DHB (CC to Walsh) on 01/31/2019 at 9:37 AM with
                     attached “Collateral Lease Assignment that both HB and PS have approved”;
        Case 9:20-cv-00082-DWM Document 1-9 Filed 06/09/20 Page 187 of 201
                                                                                                        EXHIBIT 20.
                                                                                                           PAGE 2
From:                    Jaymie Bowditch
To:                      David Bjornson
Cc:                      Jill Broughton
Subject:                 RE: Side Agreement
Date:                    Friday, January 18, 2019 3:08:26 PM
Attachments:             Second Lease Amendment.BPD - Project Spokane - 2.10.17 (00512248-2).docx




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be informed that any U.S. federal tax advice contained in this communication (including any attachments), unless
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avoiding penalties under the Internal Revenue Code or (2) promoting, marketing or recommending to another
party any matters addressed herein.
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                                                                                                          EXHIBIT 20.
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Then yes we are good I think with that. In addition to the revision of Exhibit E, the
flush language in the paragraph at the top of page 2 will need to be revised. David




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I think the answer is yes. The network equipment is related to the servers, correct?
David

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He looked it over and communicated that the servers would not be included but all
else would. Thanks. David




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Will do. I think they will be good with it. I know they will want to do the other part
now also. David




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That looks good to me. Forwarding now. Here is how I saved them. David




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Jaymie – it was not my understanding that the $3M item was waived except as to the
$1M and $1M. Did you have input to the contrary? David
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This is probably overkill for the situation – an associate in our firm drafted it up for
consideration. I am sending it to you before our clients have reviewed and
commented. Also, we should consider modifying Exhibit E to 2nd Amendment in
relation to the issues raised about the power installations.

David




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From:                        Jaymie Bowditch
To:                          David Bjornson
Cc:                          Sean Walsh; Kristen Martin
Subject:                     Collateral Assignment of Lease
Date:                        Thursday, January 31, 2019 9:37:21 AM
Attachments:                 Collateral Assignment of Lease (00663112-3).docx




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